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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTER DIVISION

JOHN NAWARA,                                 )
                                             )
                      Plaintiff,             )
                                             )
              v.                             ) No.    17 C 2393
                                             )
COUNTY OF COOK, et al.,                      ) The Honorable Rebecca R. Pallmeyer
                                             ) Judge Presiding
                      Defendants.            )

                                    REVISED SCHEDULE G




Richard F. Linden
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                                                                                    EXHIBIT
                                                                                              exhibitsticker.com




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Schedule G – Itemized Damages

Lost earnings:               $64,653.361

Compensatory Damages:

Emotional Distress: Depending on the evidence presented, we anticipate requesting
$300,000.00 or less as and for emotional distress.

All benefits Plaintiff would have received but for the discrimination, including pre-
judgment interest;

An award of reasonable attorneys’ fees, costs, and litigation expenses;

A permanent injunction enjoining Defendant to restore Plaintiff to the position where
he would have been absent the Defendant’s wrong doing, including restoration of
benefits and seniority;

A declaratory judgment that Defendant’s actions violate Title I of the Americans with
Disabilities Act of 1990, 42 U.S.C. §§ 12111-12117;

Punitive Damages:

If punitive damages are allowed by the Court, depending on the evidence presented, we
anticipate requesting $15,000.00 or less as and for punitive damages.

Defenses:

Defendants contend that Plaintiff failed to mitigate his damages.

Defendants also contend that the injunctive relief sought by Plaintiff is moot and that
there is no basis to issue a declaratory judgment, as the Court already ruled on the Motion
to Dismiss.




1
 The lost wages calculation represents Plaintiff’s pretax lost income from November 18, 2016
to September 27, 2017 ($206.56 per day). This figure is based on Plaintiff’s 2016 gross wages of
$75,394.49 divided by 365 multiplied by 313 days. Plaintiff’s gross wages for 2016 is from
“Historical Payroll Register” (CCSO 184).
